                         UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


In Re:                                                  Chapter 13
                                                        Case No.: 13-60744-pjs
Bruce G. Neller and                                     Judge: Phillip J. Shefferly
Star A. Neller

________       _________ ________       Debtor(s) _/

Bruce G. Neller,
                                        Plaintiff,

v.                                                      Adv. Proceeding No. 19-04158-pjs
                                                        Judge: Phillip J. Shefferly

National Master Student Loan Trust-1,
et al.,
_______________________________ Defendants._/



                STIPULATION FOR ENTRY OF CONSENT JUDGMENT

        The Plaintiff, by and through his attorneys, James C. Warr & Associates, PLC, and the
Defendants, by and through their attorneys, Sessions, Fishman, Nathan & Israel, LLC, stipulate to
the entry of a Consent Judgment in the form attached hereto as Exhibit A.




STIPULATED AND APPROVED:



 /s/James C. Warr                                                /s/Brian Roth
JAMES C. WARR (P47001)                                          BRIAN ROTH, ESQ. (Bar No. 22148)
James C. Warr & Associates, PLC                                 Sessions Fishman Nathan & Israel
Attorneys for Plaintiff                                         Attorneys for Defendants
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                                    CONSENT JUDGMENT

        The parties having stipulated to the resolution of this adversary proceeding; the Court
being otherwise fully advised in the premises;


        IT IS HEREBY ORDERED that, pursuant to 11 U.S.C. 523(a)(8), all of the debts
referenced in the Complaint are DISCHARGED;

       IT IS FURTHER ORDERED that this judgment and discharge are without any effect
whatsoever as to the other borrowers on the debts hereby discharged as to Plaintiff and all rights
and remedies of Defendants are otherwise reserved.




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